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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION


 THE BELOVED CHURCH, an Illinois Not-for- )
 Profit Corporation, and PASTOR STEPHEN ) No. 3:20-cv-50153
 CASSELL, an individual,                           )
                                                   )
    Plaintiffs,                                    )
                                                   )
   v.                                              )
                                                   )
 JAY ROBERT PRITZKER, Governor of the )
 State of Illinois, DAVID SNYDERS, Sheriff of ) JURY TRIAL DEMANDED
 Stephenson        County,   Illinois,   STEVE )
 SCHAIBLE, Chief of Police of the Village of )
 Lena, Illinois, and CRAIG BEINTEMA, )
 Administrator of the Department of Public Health )
 of Stephenson County, Illinois, in their official )
 capacities,                                       )
                                                   )
    Defendants.                                    )


      PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER AND
                       PRELIMINARY INJUNCTION

       Plaintiffs, by and through counsel and pursuant to Fed. R. Civ. P. 7 and 65, and Local Rule

77.2(e), move the Court for a temporary restraining order and a preliminary injunction enjoining

Defendants from applying the defendant Pritzker’s Executive Orders 2020-10 and 2020-18 and his

announced upcoming executive order to take effect May 1, 2020, in a manner that denies Plaintiffs

and others not before the Court their constitutional rights of Free Speech, the Free Exercise of

Religion, and the Right to Peaceably Assemble. In support of this motion, Plaintiffs have filed

their Verified Complaint, and submit simultaneously herewith a memorandum of law in support

of this motion.



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       Plaintiffs state that: (1) Plaintiffs are likely to succeed on the merits; (2) immediate relief

is necessary to prevent immediate and irreparable harm to Plaintiffs’ First and Fourteenth

Amendment rights to Free Speech, the Free Exercise of Religion, and the Right to Peaceably

Assemble, and Plaintiffs’ rights under the Illinois Religious Freedom Restoration Act; (3) the

threatened injury to Plaintiffs’ constitutional rights far outweighs any possible harm an injunction

would cause Defendants; and (4) issuing an injunction will serve the public interest by upholding

rights guaranteed under the First and Fourteenth Amendments to the United States Constitution

and the Illinois Religious Freedom Restoration Act.

       Plaintiffs have also served courtesy copies of the Complaint and exhibits upon the

defendants themselves or their known counsel, and will serve courtesy copies of this motion and

memorandum immediately upon filing.

       Unless this Court enjoins Defendants, Plaintiffs will suffer an immediate and grievous loss

of First Amendment rights. Counsel for Plaintiffs has provided notice to Defendants of its intent

to seek this emergency relief. The emergency nature of the proceedings stems from the recent

announcement by Defendant Pritzker that he would issue a new executive order to keep every

church and religious gathering and religious ministry, in all 102 counties in Illinois, entirely

shuttered for at least another month, beginning Friday, May 1.

       WHEREFORE, Plaintiffs respectfully request that this Court enter an immediate injunction

restraining Defendants, their agents, employees, and those acting in concert with them from

applying the Illinois Executive Orders 2020-10 and 2020-18 and his announced upcoming

executive order to take effect May 1, 2020, in a manner infringing Plaintiffs’ constitutionally

protected activities and in particular Plaintiffs’ right to conduct worship services, religious



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gatherings, and religious ministry, and that a bond be waived or that only nominal bond be

required.

                                  Respectfully submitted,

                                  /s/Martin Whittaker
                                  Peter Breen
                                  Thomas Brejcha
                                  Martin Whittaker
                                  THOMAS MORE SOCIETY
                                  309 W. Washington St, Ste. 1250
                                  Chicago, IL 60606
                                  (312) 782-1680
                                  pbreen@thomasmoresociety.org
                                  tbrejcha@thomasmoresociety.org
                                  mwhittaker@thomasmoresociety.org
                                  Attorneys for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that I have this day served, via email, copies of the foregoing on the

defendants, this 30th day of April, 2020, addressed as follows:

Benjamin M. Jacobi
bjacobi@okgc.com
Attorney for Defendants Snyders and Beintema

sschaible@yahoo.com
Defendant Steve Schaible

Sarah Hunger
Deputy Solicitor General
Office of the Illinois Attorney General
(312) 814-5202
shunger@atg.state.il.us
CivilAppeals@atg.state.il.us
Attorney for Defendant Pritzker
                                                    /s/Martin Whittaker
                                                    Attorney for Plaintiff




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